3 F.3d 1577
    303 U.S.App.D.C. 293
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Berdette Alga THOMAS, Appellant.
    No. 92-3131.
    United States Court of Appeals, District of Columbia Circuit.
    Aug. 27, 1993.
    
      Before:  WALD, D.H. GINSBURG, and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined than the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the judgment of conviction and sentence be affirmed.  Because appellant did not present his challenge to U.S.S.G. Sec. 5K1.1., p.s. in district court, disposition of his appeal is controlled by  United States v. Dawson, 990 F.2d 1314 (D.C.Cir.1993), in which this court rejected a similar challenge as not constituting plain error.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    